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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

SHELBY COUNTY, TENNESSEE

       Plaintiffs,

v.                                                           Case No. 2:21-cv-02550-SHL-atc

GOVERNOR BILL LEE, in his official
Capacity as GOVERNOR OF THE STATE
OF TENNESSEE,

      Defendant.
______________________________________________________________________________

                 PLAINTIFF SHELBY COUNTY, TENNESSEE’S
              NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)
______________________________________________________________________________

       Comes now Plaintiff Shelby County, Tennessee, in accordance with Federal Rule of Civil

Procedure 41(a)(1)(A)(i) and states that it voluntarily dismisses all claims against Governor Bill

Lee, in his official capacity as Governor of the State of Tennessee, without prejudice.


                                             Respectfully submitted,

                                             BURCH, PORTER AND JOHNSON, PLLC

                                             s/Tannera George Gibson
                                             NATHAN A. BICKS (BPR #10903)
                                             TANNERA GEORGE GIBSON (BPR #27779)
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                                             and

                                             MARLINEE C. IVERSON (BPR #18591)
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                                             E. LEE WHITWELL (BPR #33622)
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                                                 lee.whitwell@shelbycountytn.gov

                                             Counsel for Plaintiff Shelby County, Tennessee



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will operate to provide notice of this filing to all
counsel of record in this case.


                                                    s/Tannera George Gibson
                                                    Tannera George Gibson




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